      Case 1:20-cv-03898-CRK Document 105       Filed 08/17/22   Page 1 of 11




             UNITED STATES COURT OF INTERNATIONAL TRADE
                 BEFORE THE HONORABLE CLAIRE R. KELLY
______________________________________________________
                                                       )
NEXTEEL CO., LTD. ET AL.,                              )
                                                       )
                  Plaintiff and Consolidated           )
                  Plaintiffs,                          )
                                                       )
                  and                                  )
                                                       )
HUSTEEL CO., LTD. and HYUNDAI STEEL COMPANY            )
                                                       )
                  Plaintiff-Intervenors,               ) Consol. Ct. No.: 20-03898
                                                       )
            v.                                         )
                                                       )
UNITED STATES,                                         )
                                                       )
                  Defendant,                           )
                                                       )
                  and                                  )
                                                       )
CALIFORNIA STEEL INDUSTRIES, INC. ET AL.,              )
                                                       )
                  Defendant-Intervenors and            )
                  Consolidated Defendant-              )
                  Intervenors.                         )
                                                       )

                 NEXTEEL CO., LTD.’s COMMENTS ON REMAND

ARNOLD & PORTER KAYE SCHOLER LLP            J. David Park
601 Massachusetts Avenue, N.W.              Henry D. Almond
Washington, D.C. 20001                      Daniel R. Wilson
Phone: (202) 942-5000                       Kang Woo Lee
Fax: (202) 942-5999

                                            Counsel to NEXTEEL Co., Ltd.
                                            Plaintiff


Dated: August 17, 2022
       Case 1:20-cv-03898-CRK Document 105                                    Filed 08/17/22            Page 2 of 11




                                               TABLE OF CONTENTS


I.     INTRODUCTION ...............................................................................................................1

II.    ARGUMENT .......................................................................................................................2

       A.        THE COURT SHOULD FURTHER REMAND COMMERCE’S
                 ALLOCATION OF COSTS ASSOCIATED WITH SUSPENDED
                 PRODUCTION LINE LOSSES TO G&A EXPENSES..........................................2

III.   CONCLUSION ....................................................................................................................7
          Case 1:20-cv-03898-CRK Document 105                                  Filed 08/17/22            Page 3 of 11




                                              TABLE OF AUTHORITIES

                                                                                                                             Page(s)

Federal Cases

Dillinger France S.A. v. United States,
    981 F.3d 1318 (Fed. Cir. 2020)..............................................................................................1, 6

Husteel Co., Ltd. v. United States,
   520 F. Supp. 3d 1296 (Ct. Int’l Trade 2021) .........................................................................1, 6

NEXTEEL Co., Ltd. v. United States,
  569 F. Supp. 3d 1354 (Ct. Int’l Trade 2022) ................................................................... Passim


Federal Statutes

19 U.S.C. § 1677b(f)(1)(A)..........................................................................................................4, 5

Commerce Determinations

Welded Line Pipe from the Republic of Korea: Final Results of Antidumping Duty
   Administrative Review and Final Determination of No Shipments; 2017-2018,
   85 Fed. Reg. 76,517 (Dep’t Commerce Nov. 30, 2020) ........................................................3, 4




                                                             ii
       Case 1:20-cv-03898-CRK Document 105                Filed 08/17/22     Page 4 of 11




I.     INTRODUCTION

       On behalf of Plaintiff NEXTEEL Co., Ltd. (“NEXTEEL”), we hereby submit these

comments on the U.S. Department of Commerce’s (“Commerce”) Final Results of

Redetermination Pursuant to Court Remand, ECF No. 96, July 18, 2022 (“Remand Results”).

See NEXTEEL Co., Ltd. et al. v. United States, 569 F. Supp. 3d 1354 (Ct. Int’l Trade 2022)

(“NEXTEEL”). Commerce’s Remand Results addressed three issues pertaining to NEXTEEL:

(1) Commerce’s particular market situation (“PMS”) determination, (2) Commerce’s treatment

of NEXTEEL’s production costs related to non-prime merchandise; and (3) Commerce’s

treatment of NEXTEEL’s costs associated with suspended production lines. See Remand

Results at 1.

       Regarding the first two issues, NEXTEEL supports Commerce’s Remand Results. With

respect to the PMS issue, Commerce determined that, in consideration of the record facts and the

Court’s opinion, it was “unable to determine that a PMS exists,” and, as a result, Commerce

calculated NEXTEEL’s antidumping duty margin without making a PMS adjustment. Remand

Results at 6. With respect to costs related to the production of non-prime merchandise,

Commerce likewise reversed its prior adjustment -- the adjustment which treated production

costs for non-prime merchandise above the sales price of the merchandise as a production cost

related to prime product production -- referencing the Court’s opinion in this case, this Court’s

prior decision in Husteel, and the U.S. Court of Appeals for the Federal Circuit’s decision in

Dillinger. See Remand Results at 7-8 (citing Husteel Co., Ltd. et al. v. United States, 520 F.

Supp. 3d 1296, 1308-1309 (Ct. Int’l Trade 2021) and Dillinger France S.A. v. United States, 981

F.3d 1318, 1321-24 (Fed. Cir. 2020). The Court should sustain Commerce’s Remand Results on

these two issues.
       Case 1:20-cv-03898-CRK Document 105                Filed 08/17/22     Page 5 of 11




       With respect to the third issue -- Commerce’s treatment of costs associated with

NEXTEEL’s suspension of certain production lines -- Commerce continued to treat these costs

as part of NEXTEEL’s general and administrative (“G&A”) costs, despite the fact that the costs

were not recorded as such in NEXTEEL’s normal books and they were not costs associated with

producing subject merchandise in the period of review (“POR”). As discussed below, the Court

should remand this issue again to Commerce so that the agency can recalculate NEXTEEL’s

antidumping duty margin without treating these costs as part of the company’s G&A expenses.

II.    ARGUMENT

       A.      THE COURT SHOULD FURTHER REMAND COMMERCE’S
               ALLOCATION OF COSTS ASSOCIATED WITH SUSPENDED
               PRODUCTION LINE LOSSES TO G&A EXPENSES

       With respect to the allocation of costs for losses associated with suspended production on

certain production lines, Commerce’s Remand Results does not comply with the Court’s

Remand Order. The Court remanded the issue to Commerce, finding that: (1) Commerce did

not “explain whether NEXTEEL suspended production on the lines in question for a portion of

the period of review or the entirety of the period of review”; and (2) Commerce did not “address

the extent to which losses associated with the suspension of non-subject merchandise production

lines relate to the general and administrative expenses incurred in the production of subject

merchandise, such that NEXTEEL’s K-IFRS complaint books and records do not reasonably

reflect costs.” NEXTEEL, 569 F. Supp. 3d at 1372.

       In its Remand Results, Commerce continues to draw an arbitrary line between its

treatment of “routine maintenance” shutdowns and extended shutdowns, claiming that

NEXTEEL’s suspended losses do not qualify as a routine maintenance shutdown that would

otherwise qualify as the cost of manufacturing products associated with those production lines.




                                             2
       Case 1:20-cv-03898-CRK Document 105                Filed 08/17/22     Page 6 of 11




See Remand Results at 8-9. As an initial matter on one hand, Commerce’s stated analytical

framework draws a distinction between temporary shutdowns (in which case the costs are

attributed to the merchandise produced on the production lines) and extended shutdowns (in

which case the costs are attributed to the company as a whole). See Welded Line Pipe from the

Republic of Korea: Final Results of Antidumping Duty Administrative Review and Final

Determination of No Shipments; 2017-2018, 85 Fed. Reg. 76,517 (Dep’t Commerce Nov. 30,

2020) at Accompanying Issues and Decision Memorandum (Nov. 20, 2020) (“Final IDM”), ECF

No. 52-4, at 48-49.

       The Court recognized this temporal aspect of the analysis, highlighting that “if

NEXTEEL suspended production for only a portion of the POR, then merchandise may have

been produced on those lines during the period of review, allowing Commerce to associate the

suspended production losses with the revenue generated from that merchandise.” NEXTEEL,

569 F. Supp. 3d at 1372. On remand, however, Commerce has created a new framework that

appears to treat any shutdown as a G&A expense. See Remand Results at 18.

       In particular, while the Court recognized the issue as one of analyzing whether the costs

for the suspended production lines at issue could be attributed to products produced on those

lines during the POR, on remand Commerce appears to take the position that as soon as a

production line is shut down, the costs associated with that production line cannot be attributed

to the products produced on that line. As Commerce states:

       {W}hile products may have been produced during the POR on those lines that
       were later shut down, such production occurred prior to the shutdown and carry
       the cost of those lines during those periods. Revenues from products prior to the
       shutdown should not be associated with the suspended losses incurred during the
       shutdown periods, as those products already carry the full operating costs related
       to producing the products on those lines.

Remand Results at 18.



                                             3
       Case 1:20-cv-03898-CRK Document 105                Filed 08/17/22      Page 7 of 11




       In essence, following Commerce’s logic, as soon as there is a production shutdown of

any kind, then the costs associated with that production line become G&A costs because there is

no production on the production line at issue to bear the costs of that line. Commerce reached

this conclusion in an effort to address the temporal problem that the Court recognized (i.e., that

there may be some POR production on those lines to bear the cost of the shutdown period), but

in reaching this conclusion Commerce has further blurred the line between what it may consider

“routine shutdown expenses” versus shutdowns “for an extended period of time.” Final IDM at

48. Indeed, Commerce recognizes that “NEXTEEL had production lines that were both

suspended for the whole POR and for a portion of the POR,” but drew no distinction between

them, treating all such shutdown costs as G&A expenses, regardless of whether there was

production on those lines during the POR. Remand Results at 18. This treatment is inconsistent

with the Court’s order and warrants further remand for Commerce to reconsider its treatment of

NEXTEEL’s suspended production line costs.

       Regardless of what products are produced on the production lines and how long the lines

were shut down for, NEXTEEL continues to submit that 19 U.S.C. § 1677b(f)(1)(A) mandates

that Commerce accept NEXTEEL’s costs as reported. Under this section of the statute,

Commerce is to rely upon a company’s normal books and records when they are prepared in

accordance with the home country GAAP and “reasonably reflect the costs associated with the

production and sale of the merchandise.” 19 U.S.C. § 1677b(f)(1)(A). G&A expenses are those

general administrative expenses that are not associated with expenses incurred in producing or

selling the merchandise. Suspended losses are not related to the company’s overall management

of its operations, but rather consisted of maintenance and depreciation expenses NEXTEEL

incurred on production lines that were temporarily suspended. NEXTEEL’s ordinary accounting




                                             4
       Case 1:20-cv-03898-CRK Document 105                Filed 08/17/22     Page 8 of 11




treatment of these costs was reasonable and Commerce’s conclusory analysis is flawed in that it

does not demonstrate that NEXTEEL’s costs were not reasonable, as required by the statute prior

to departing from the company’s costs.

       Commerce can only legally reclassify the costs if NEXTEEL’s normal, K-IFRS-

compliant, accounting treatment is not reasonable. See 19 U.S.C. § 1677b(f)(1)(A).

Commerce’s Remand Results concludes that NEXTEEL’s reporting is not reasonable because its

costs “do not reasonably reflect the actual COP of individual products.” Remand Results at 9.

In responding to NEXTEEL’s comments on the Draft Remand, Commerce explained that it was

concerned with the subject merchandise and whether general costs were appropriately attributed

to subject merchandise. Remand Results at 19. But Commerce only gets to this question if it

can demonstrate that NEXTEEL’s K-IFRS consistent costs (which did not treat the suspended

production lines as a general cost) are not reasonable.

       Suspended losses are not related to the company’s overall operations, but rather consisted

of expenses NEXTEEL incurred on specific production lines that were temporarily suspended.

Although production was suspended, those costs did not relate to the production of subject

merchandise. In other words, NEXTEEL’s costs from suspended production are both K-IFRS

compliant and the reported costs for welded line pipe production reasonably reflect the costs

associated with the production and sales of the subject merchandise (as all actual costs incurred

to produce the subject merchandise were recorded in the company’s books and reported to

Commerce as such). That is, in the normal course of business and consistent with K-IFRS, the

costs are not attributed to NEXTEEL’s line pipe production costs which is reasonable. In the

normal course of business, and again consistent with K-IFRS, the cost are not considered general

or administrative, which is also reasonable. Because this treatment is reasonable, and consistent




                                             5
        Case 1:20-cv-03898-CRK Document 105               Filed 08/17/22     Page 9 of 11




with K-IFRS, pursuant to 19 U.S.C. § 1677b(f)(1)(A), Commerce cannot simply adjust and move

the costs as it sees fit.

        As the Court stated, “Dillinger requires that constructed value reasonably reflects a

respondent’s actual costs, whether or not the respondent’s books and records reasonably reflects

such costs.” NEXTEEL, 569 F. Supp. 3d at 1371. While Commerce “may deviate from the costs

reflected in a respondent’s books and records,” the Court interpreted Dillinger as requiring that

Commerce show that “such costs do not ‘reasonably reflect the costs associated with the

production and sales of the merchandise.’” Id. Commerce’s analysis does not show that

NEXTEEL’s costs of suspended production do not “reasonably reflect the costs associated with

the production and sales of the merchandise.” While this Court has also recently reasoned that

“at some point an extended shutdown suggests that the costs of that product line are more akin to

expenses borne by the company in its general operations,” see Husteel, 520 F. Supp. 3d at 1307-

1308, NEXTEEL continues to submit that Commerce has not established that NEXTEEL’s

reported costs to produce welded line pipe are not reasonable. Accordingly, on further remand,

Commerce should accept NEXTEEL’s costs as reported and not treat the suspended production

line costs as a G&A expense.




                                             6
       Case 1:20-cv-03898-CRK Document 105             Filed 08/17/22    Page 10 of 11




III.   CONCLUSION

       For the foregoing reasons, NEXTEEL respectfully requests that this Court hold

Commerce’s treatment of NEXTEEL’s suspended production line costs to be unsupported by

substantial evidence and otherwise not in accordance with law. NEXTEEL further requests that

this Court remand the agency’s determination with instructions to Commerce to revise its

treatment of NEXTEEL’s suspended production line costs consistent with these comments.


                                            Respectfully submitted,

                                            /s/ J. David Park

                                            J. David Park
                                            Henry D. Almond
                                            Daniel R. Wilson
                                            Kang Woo Lee

                                            ARNOLD & PORTER KAYE SCHOLER LLP
                                            601 MASSACHUSETTS AVENUE, N.W.
                                            WASHINGTON, D.C. 20001
                                            PHONE: (202) 942-5000
                                            FAX: (202) 942-5999

                                            Counsel to NEXTEEL Co., Ltd.
                                            Plaintiff
Date: August 17, 2022




                                           7
      Case 1:20-cv-03898-CRK Document 105               Filed 08/17/22    Page 11 of 11




             UNITED STATES COURT OF INTERNATIONAL TRADE
                 BEFORE THE HONORABLE CLAIRE R. KELLY
______________________________________________________
                                                       )
NEXTEEL CO., LTD. ET AL.,                              )
                                                       )
                  Plaintiff and Consolidated           )
                  Plaintiffs,                          )
                                                       )
                  and                                  )
                                                       )
HUSTEEL CO., LTD. and HYUNDAI STEEL COMPANY            )
                                                       )
                  Plaintiff-Intervenors,               ) Consol. Ct. No.: 20-03898
                                                       )
            v.                                         )
                                                       )
UNITED STATES,                                         )
                                                       )
                  Defendant,                           )
                                                       )
                  and                                  )
                                                       )
CALIFORNIA STEEL INDUSTRIES, INC. ET AL.,              )
                                                       )
                  Defendant-Intervenors and            )
                  Consolidated Defendant-              )
                  Intervenors.                         )
                                                       )

      CERTIFICATE OF COMPLIANCE WITH CHAMBERS PROCEDURE 2(B)(1)

       The undersigned hereby certifies that the attached Remand Comments of NEXTEEL Co.,

Ltd. filed on August 17, 2022 contain 1,792 words, exclusive of the Table of Contents, Table of

Authorities, and counsel’s signature block, according to the word count function of the word-

processing system used to prepare this memorandum, and therefore complies with the 10,000

word count limitation set forth in the Court’s Chambers Procedures.

By:                                                                /s/ J. David Park
                                                                   J. David Park
Date: August 17, 2022
